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U.S.A. vs. VICTOR BOWEN DocketNo.z-,ozCth)LZ§ gp m analysis

 

Petition on Probation and Supervised Release

COMES NOW Christy J. Henson PROBATION OFFICER ()F THE COURT presenting an
official report upon the conduct and attitude ofVictor Bowen who was placed on Probation by the Honorable
.lon Phipps McCalla sitting in the Court at Memphisl TN, on thegt_h day of November , 2002, Who fixed
the period of supervision at five 151 years* , and imposed the general terms and conditions theretofore
adopted by the Court and also imposed Special Conditions and terms as follows:

 

 

l. The defendant shall participate as directed in a program approved by the Probation Ofticer for
treatment of narcotic addiction or drug or alcohol dependency which may include testing for the
detection of substance use or abuse.

2. The defendant shall pay restitution in the amount of $30,000. (Balance: $29,870)

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Mr. Bowen has struggled to make regular restitution payments due to long periods of unemployment
However, Mr. Bowen recently secured employment and a financial review concluded $50 per month would
be appropriate toward his court ordered obligation

PRAYING THAT TI-IE COURT WILL ORDER Victor Bowen’s restitution payments be set at $50 per
month.

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Q_orlsidered and ordered this g day of /zéc', iz] ",i"'/l t }/‘ ~J taL; 7

t _) Vlm , 200_5 and ordered filed and made a ( Christy J.` eijson
part of the records in the above case. United S te Probation Ofi`lcer

§§ Q M(‘ Q¢S_Qcc Place: Memnhisq TN

{de states District Judge Daie: June 6. 2005

 

 

This document entered on the docket sheet in com lien-cs
With Flu|e 55 and/or 32(b} FFlCrP on Q 'i ~¢"S ___

 

   

UNITED sETATlesTRICT COURT - WsETER DIsTRICT TNNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 92 in
case 2:02-CR-20162 Was distributed by faX, mail, or direct printing on
.l unc 9, 2005 to the parties listed.

 

 

Stuart .l. Canale

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l on l\/lcCalla
US DISTRICT COURT

